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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
  UNITED STATES OF AMERICA,


  v.                                         CASE NO. 8:10-CR-550-T-17MAP

  PAULA L. HORNBERGER.

                                     /


                                           ORDER


        This cause is before the Court on:

         Dkt. 1334     Motion to Terminate Supervised Release

         Defendant Paula L. Hornberger moves for early termination of her term of
  supervised release. Defendant Paula L. Hornberger was sentenced on October 26,
  2012 to incarceration of one year and one day, followed by a three-year term of
  supervised release, and restitution of $13,229,100.00 (Dkt. 821).


         Defendant Hornberger has served more than one year of the term of supervised
  release, and is making monthly payments toward restitution. Defendant Hornberger
  states that one condition of her supervision prevents Defendant from leaving the State
  of Washington, and as a result, Defendant Hornberger has not been personally able to
  travel with Defendant’s minor child to visit with the child’s father, George Cavallo, who is
  incarcerated at the Federal Correctional Institution in Sheridan, Oregon.


         The Government opposes Defendant Hornberger’s Motion, in light of the fact
  that Defendant Hornberger has served less than half of the term of supervised release,
  and the substantial amount of restitution which remains outstanding.


         The Court notes that Defendant Hornberger is permitted to travel outside the
  State of Washington with the permission of her supervising Probation Officer.      After
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  consideration of the relevant factors pursuant to 18 U.S.C. Sec. 3553 indicated in 18
  U.S.C. Sec. 3583, and in the interest of justice, the Court denies Defendant’s Motion for
  Termination of Supervised Release. Accordingly, it is


          ORDERED that Defendant’s Motion for Termination of Supervised Release (Dkt.
  1334) is denied.


          DONE and ORDERED in Chambers in Tampa, Florida on this              day of
  2015.




  All parties and counsel of record




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